Case 4:17-Cr-00116 Document 24 Filed in TXSD on 03/28/17 Page 1 of 2

USA'74-24B

 

 

 

 

 

(Rev. 05/01) CRIMINAL DOCKET

HOUSTON DIVISION som‘,""f,‘,,"%`-°;.‘§§W¢ No. H-17_116

USAO Number: 2015Rl9979

Magistrate Number: a';:~\r< l 8 2017 '

SUPERSEDING INDICTMENT piled Judge- ?U 53 r\~-}~Q\a, l

uNrrED SrATES of AMERICA ATFORNEYS:

vs ABE MARTINEZ, ACTING USA (713) 567-9000
MELISSA ANNIS, AUSA (713) 567-9000

Appt'd Private
STEPHEN E4 STOCKMAN (l-lZ, 14-22, 24, 27-28) m m

 

JASON T. POSEY (3-4, 8-13, 22-27)

 

 

 

 

 

 

 

 

 

 

 

 

 

EEEEUEUEECEEEE
E[:ILI[]{:E{:}[:!L~[:)LJM[:J

 

 

Counts 1-8: Mail and Wire Fraud [18 U.S.C. §§ 1341, 1343, and 2]

 

Count 92 Conspiracy to Make Conduit Contributions and False Statements [18 U.S.C. § 371]

 

Counts 10-11: False Statements [18 U.S.C. § 1001(a)(2)]

 

Count 12: Making Excessive Contribulions [52 U.S.C. §§ 301 16(a)(l)(A), 30116(a)(7)(B)(i),

 

and 30109(d)(1)(A)(i) and 18 U.S.C. § 2]

 

Count l3:Fa]sif10ation ofRecords [18 U.S,C § 1519]

 

Counts 14~26: Money Laundering [18 U.S.C, § 1957]

 

Case 4:17-Cr-00116 Document 24 Filed in TXSD on 03/28/17 Page 2 of 2

Page 2 of 2

CHARGE: Count 27: Money Laundering [18 U.S.C. § l956(a)(1)(B)(i)

(TOTAL) Count 281 Filing False Return [26 U.S-Cv § 7206(1)]
(COUNTSZ)

(18)

 

 

 

 

 

PENALTY:
Counts 1-8.' Up to 20 years imprisonment, $250,000 fine, 3 years supervised release, $100 special assessment per count.
Count 9: Up to 5 years imprisonment, $250,000 fine, 3 years supervised release, $100 special assessment
Counts lO-l l'.Up to 5 years imprinsonment, $250,000 fine, 3 years supervised release,$lOO special assessment per count
Count 121 Up to 5 years imprisonment, $250,000 fine, 5 years supervised release, $100 special assessment
Count 13: Up to 20 years irnprisonment, $250,000 fine, 3 years supervised release, $100 special assessment
Counts 14-26: Up tol 0 years imprisonment, $250,000 fine, 3 years supervised release, $100 special assessment per count
Count 27: Up to 20 years imprisonment, $500,000 fine or twice the value of the property involved in the transaction whichever

is greater, and up to 2 years supervised release, $100 special assessment
Count 28: Up to 3 years imprisonment, $100,000 fine, 1 year supervised release, $100 special assessment per count.

13 In Jai\ NAME & ADDRESS
of Surety:

E on send

[:1 No Arrest

PR EEDIN :

 

 

 

 

 

